         Case 4:19-cv-00746-LSC-SGC Document 21 Filed 08/31/20 Page 1 of 2                        FILED
                                                                                         2020 Aug-31 AM 09:56
                                                                                         U.S. DISTRICT COURT
                                                                                             N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ALABAMA
                           MIDDLE DIVISION

    JOSE ALBERTO HERNANDEZ,                    )
                                               )
          Petitioner,                          )
                                               )
    v.                                         )   Case No. 4:19-cv-00746-LSC-SGC
                                               )
    WARDEN, ETOWAH COUNTY                      )
    DETENTION CENTER, et al.,                  )
                                               )
          Respondents.                         )

                             MEMORANDUM OPINION

         On July 24, 2020, the magistrate judge entered a report recommending Jose

Alberto Hernandez’s petition for a writ of habeas corpus brought pursuant to 28

U.S.C. 2241 be dismissed with prejudice. (Doc. 19). The magistrate judge advised

the parties of their right to file specific written objections within fourteen days from

the entry date of the report. (Id.). No objections have been received by the court

within the time prescribed.1

         After careful consideration of the record in this case and the magistrate judge’s

report, the court ADOPTS the report of the magistrate judge and ACCEPTS her




1
  Mail sent to Hernandez has been returned as undeliverable. (Docs. 16, 20; see also Docs. 17,
18). However, a search of the online database for U.S. Immigration and Customs Enforcement
indicates Hernandez remains in custody at Otay Mesa Detention Facility, 7488 Calzada de la
Fuenta, San Diego, California 32154.
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recommendation. In accordance with the recommendation, the court finds the

petition for a writ of habeas corpus is due to be dismissed with prejudice.

      A separate order will be entered.

      DONE and ORDERED on August 31, 2020.



                                              _____________________________
                                                     L. Scott Coogler
                                                United States District Judge
                                                                               160704




                                          2
